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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                         :
 DEUTSCHE BANK SECURITIES, INC.,         :
                                         :
                           Plaintiff,    :            18cv10191(DLC)
                -v-                      :
                                         :          MEMORANDUM OPINION
 MARIA DE LOS ANGELES BORJAS and         :                & ORDER
 BRALISOL ASSOCIATES LTD.,               :
                                         :
                           Defendants.   :
                                         :
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APPEARANCES

For the plaintiff:
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For the defendants:
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DENISE COTE, District Judge:

     On July 27, 2018, Deutsche Bank Trust Company Americas

(“DBTCA”) filed an action to recover a deficit of approximately

$2 million from Rado Limited Partnership (“Rado”), an

accountholder that is related to the defendants in this action,

Maria De Los Angeles Aparain Borjas (“Borjas”) and Bralisol

Associates Ltd. (“Bralisol”).      In response, on August 7, the

defendants began a Financial Industry Regulatory Authority
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(“FINRA”) arbitration against plaintiff Deutsche Bank

Securities, Inc. (“DBSI”), which, unlike DBTCA, is a FINRA

member.     DBSI now moves for a preliminary injunction to enjoin

the FINRA arbitration.     For the following reasons, the motion is

granted.



                               Background

     The following facts are taken from the parties’

submissions.    Defendants held investment accounts with nonparty

Insight Securities, Inc. (“Insight”), a broker-dealer located in

Illinois.    The defendants’ Insight account was managed by

nonparty Fernando Haberer, who is related by marriage to the

defendants and acted as the defendants’ investment advisor.

     The defendants contend that in March 2018 Haberer used

forged letters of authorization (“LOAs”) to liquidate funds and

securities from the defendants’ Insight account without the

defendants’ authorization.     The funds taken from the Insight

account were deposited in an account for Rado Limited

Partnership (“Rado”) that is managed not by DBSI but by DBTCA.

Haberer also had authority over Rado’s account with DBTCA.             The

Rado accountholders and the defendants are connected to each

other and to Haberer through marriage.1


1 Borjas is the partner of Roberto Teofilo Levi (“RT Levi”). RT
Levi is the brother of Ricardo Jaime Levi (“RJ Levi”). RJ Levi


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    The defendants contend that Haberer conspired with Reynaldo

Figueredo, an employee of both DBSI and DBTCA, to move the funds

from their Insight account.     Figueredo is licensed by FINRA.        A

FINRA BrokerCheck indicates that DBTCA and DBSI are “under

common control.”    As noted above, DBSI is a FINRA member, but

DBTCA is not.

    As further evidence of the association of Haberer and

Figueredo, the defendants present evidence regarding Biscayne

Capital International LLC (“Biscayne”).       The defendants

submitted three email chains from 2016 between Biscayne

employees on which both Figueredo and Haberer are apparently

copied.   No email directly to or from Haberer in connection with

Biscayne has been submitted.

    In addition, the defendants contend that the funds taken

from their Insight account were routed through accounts in their

name at an entity known as Madison Assets, LLC (“Madison”).

They have not submitted account statements from Madison bearing

their names, or other records to show their connection to any

Madison account.    The defendants further contend that Madison




owns Bralisol with his ex-wife and four daughters. One of RJ
Levi’s daughters is married to Diego Alejandro Saul Romay
(“Romay”). Rado is owned by the Diego Trust, a trust created by
Romay’s parents for the benefit of Romay, his wife, and his
three children. One of Romay’s siblings is Mirta Romay, whose
daughter is married to Haberer’s brother.


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holds an account at a Deutsche Bank entity.2        They submit a

margin activity statement from Deutsche Bank that indicates that

Deutsche Bank played a “custody and clearing” role in a

transaction for Madison.3

     On July 27, 2018, DBTCA filed a complaint against Rado

seeking approximately $2 million from Rado to cover a deficit in

Rado’s account with DBTCA.     See Deutsche Bank Trust Co. Ams. v.

Rado L.P., No. 18cv6768(DLC) (S.D.N.Y. filed July 27, 2018) (the

“Rado Action”).   Rado has filed a counterclaim, alleging that

DBTCA is liable to Rado for approximately $8.5 million for

allowing Haberer to conduct fraudulent trades in Rado’s account.

     On August 7, defendants filed a statement of claim with

FINRA against DBSI, Insight, and parties related to Insight.           An

amended statement of claim was filed on October 11.

     At a conference held in the Rado Action on October 26,

counsel for DBTCA indicated that it planned to file an action on

behalf of DBSI to enjoin the FINRA arbitration.         An Order of

October 29 set a schedule for the motion.


2 The precise identity of this Deutsche Bank entity -- whether it
is DBSI, DBTCA, or another corporate entity -- is not disclosed
in the defendants’ brief or evidentiary submissions.

3 The defendants have also submitted a bankruptcy court petition
filed in this district seeking recognition of the liquidation of
Madison in the Cayman Islands. This petition includes the
allegation that Madison “until recently had, and may still have,
cash and securities in accounts in its name in several banks in
the United States, including Deutsche Bank in New York.”


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    On November 2, DBSI filed the complaint in this action,

seeking a preliminary and permanent injunction against the FINRA

arbitration, and a motion for a preliminary injunction.

Defendants, represented by the same counsel as the defendants in

the Rado Action, were served with the relevant papers on

November 5 and 6, and filed papers opposing the preliminary

injunction on November 12.     The motion became fully submitted on

November 16.



                               Discussion

    “A preliminary injunction is an equitable remedy and an act

of discretion by the court.”      ACLU v. Clapper, 804 F.3d 617, 622

(2d Cir. 2015).   “A party seeking a preliminary injunction must

demonstrate:   (1) a likelihood of success on the merits or

sufficiently serious questions going to the merits to make them

a fair ground for litigation and a balance of hardships tipping

decidedly in the plaintiff's favor; (2) a likelihood of

irreparable injury in the absence of an injunction; (3) that the

balance of hardships tips in the plaintiff's favor; and (4) that

the public interest would not be disserved by the issuance of an

injunction.”   Benihana, Inc. v. Benihana of Tokyo, LLC, 784 F.3d

887, 895 (2d Cir. 2015) (citation omitted).

    The crux of the parties’ dispute on this motion is whether

DBSI has shown a likelihood of success on the merits.          It is


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well settled that a party forced to arbitrate a dispute that is

not arbitrable is “irreparably harmed by being forced to expend

time and resources” on an unenforceable arbitration to which it

has not consented.      Merrill Lynch Inv. Managers v. Optibase,

Ltd., 337 F.3d 125, 129 (2d Cir. 2003) (citation omitted).               For

similar reasons, the public interest and equities favor

enjoining an arbitration that is outside the scope of an

arbitration agreement.

    “In the absence of an agreement by the parties to submit

the matter of arbitrability to the arbitrator, the question of

whether or not a dispute is arbitrable is one for the court.”

Wachovia Bank, Nat’l Ass’n v. VCG Special Opportunities Master

Fund, Ltd., 661 F.3d 164, 171 (2d Cir. 2011).          Where arbitration

is demanded pursuant to the rules of a self-regulatory

organization such as FINRA, such rules are “interpreted like

contract terms . . . to give effect to the parties’ intent as

expressed by the plain language of the provision.”           Citigroup

Glob. Markets Inc. v. Abbar, 761 F.3d 268, 274 (2d Cir. 2014)

(“Abbar”) (citation omitted).

    Defendants contend that arbitration is required by FINRA

Rule 12200 (“Rule 12200”), which provides in relevant part that

parties “must arbitrate” if:

    •     Arbitration under the Code is either:

    (1) Required by a written agreement, or


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    (2) Requested by the customer;

    • The dispute is between a customer and a member or
    associated person of a member; and

    • The dispute arises in connection with the business
    activities of the member or the associated person
    . . . .

FINRA Rule 12200, http://finra.complinet.com/en/display/display.

html?rbid=2403&element_id=4106.      FINRA defines a member in

relevant part as “any broker or dealer admitted to membership in

FINRA.”    FINRA Rule 12100(q), http://finra.complinet.com/en/

display/display_main.html?rbid=2403&element_id=4099 (“Rule

12100”).    An “associated person of a member” is defined via Rule

12100(b) and 12100(u) as “[a] natural person who is registered

or has applied for registration under the Rules of FINRA.”             Rule

12100(u).

    FINRA defines “customer” as follows:         “A customer shall not

include a broker or dealer.”      Rule 12100(k).    The Second Circuit

has held that “a ‘customer’ under FINRA Rule 12200 is one who,

while not a broker or dealer, either (1) purchases a good or

service from a FINRA member, or (2) has an account with a FINRA

member.”    Abbar, 761 F.3d at 275.

    Because there is no written agreement between DBSI and the

defendants, arbitration may only be required if the defendants

are “customers” of DBSI.     DBSI has shown a likelihood of success

in demonstrating that the defendants are not its customers.


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        The defendants’ theory of the customer relationship

appears to be as follows.       First, Haberer forged LOAs that

allowed him to liquidate funds from the defendants’ account with

Insight.    Second, Haberer redirected those funds into Rado’s

account with DBTCA instead of Deutsche Bank accounts belonging

to the defendants.4      Third, DBTCA collected a fee for the

transaction.     Fourth, Figueredo is listed as primary officer on

a March 2018 statement for the Rado DBTCA account.           Fifth,

Figueredo is registered with FINRA as an associated person of

both DBTCA and DBSI.      Under the defendants’ theory, this five-

step connection is sufficient to make them customers of DBSI.

     There are several problems with this theory.           First, there

is no dispute between the defendants and DBSI that is connected

to any account the defendants have at DBSI.          The dispute arises

out of what Haberer did with funds transferred out of the

defendants’ Insight account held at an Illinois broker-dealer

unaffiliated with DBSI.

     The defendants do not contend that Haberer is associated

with DBSI, which is admittedly a FINRA member.           Nor do they

contend that their Insight account was held at or managed by

DBSI.

     The defendants also contend that they are customers of DBSI


4 The defendants’ brief uses “Deutsche Bank” to refer generally
to DBSI and DBTCA.


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and that this dispute arises out of that relationship by virtue

of the account held by Madison.      These arguments are also

unavailing.   The defendants have not submitted any reliable

evidence that they are the Madison account holders, that Madison

held an account at DBSI, or that the improperly transferred

funds moved through any account held by Madison at DBSI.

    Second, there is no evidence that the defendants are

customers of DBSI because they purchased a good or service from

DBSI or any person associated with DBSI, included Figueredo.

The defendants suggest that fees charged by DBTCA on the Rado

account in April 2018, one month after the illicit transfer,

constitute a purchase of a service.       But, even assuming that

DBTCA and DBSI are sufficiently connected such that actions of

DBTCA could require DBSI to arbitrate, the fact that DBTCA

collected a fee from funds in Rado’s account does not transform

the defendants into DBTCA’s customer.       A fee paid out of a Rado

account is a payment by Rado not the defendants.

    Third, the defendants repeatedly insinuate that they have a

dispute with Figueredo, who is associated with DBSI, because

Haberer and Figueredo conspired together to direct the Insight

account funds to the Rado DBTCA account.        The defendants’

evidentiary submissions -- emails from 2016 on which both

Figueredo and Haberer are copied -- do not support a finding

that Figueredo worked with Haberer to improperly divert the


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defendants’ Insight account funds in 2018 to DBTCA.

    In sum, the defendants’ allegations and evidentiary

submissions support a theory that Haberer improperly transferred

funds from their Insight accounts in Illinois into Rado’s

account with DBTCA, not DBSI.      DBSI has shown a likelihood to

prevail in proving that the defendants were not its customers

within the meaning of Rule 12200 in connection with that

transfer.



                              Conclusion

    The November 2, 2018 motion to preliminarily enjoin the

FINRA arbitration against DBSI initiated by the defendants on

August 7, 2018, is granted.      This action is otherwise stayed

pending the completion of proceedings in 18cv6768.



SO ORDERED

Dated:      New York, New York
            November 28, 2018
                                  ____________________________
                                           DENISE COTE
                                  United States District Judge




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